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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA

                                Case No. 2:16-cv-00702-5PC-MRM

FRANCIS MARTINEZ,

               Plaintiff,
V.

WARAMAUG BONITA SPRINGS, LLC,
d/b/a LA QUINTA INN & SUITES,

               Defendant.


                    PLAINTIFF'S NOTICE OF PENDING SETTLEMENT

        Plaintiff, FRANCIS MARTINEZ ("Plaintiff'), by and through undersigned counsel,

pursuant to Local Rule 3.08, hereby gives notice that Plaintiff and Defendant ("Parties"), have

reached an agreement for settlement, and are in the process of finalizing the settlement documents.

The Parties respectfully request twenty-one (21) days to finalize the settlement documents and file

proper pleadings to close this matter out.

Respectfully submitted this 4th day of January, 2017.

                                             BY: /s/ Jason S. Weiss
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                              CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on this 4th day of January, 2017, I electronically filed the
foregoing with the Clerk of the Court by using the CM/ECF system which will send a notice of
electronic filing to all parties of record.



                                         BY: /s/ Jason S. Weiss
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